Case 1:11-cv-01226-RHB ECF No. 51-6, PagelD.822

From: Franzinger, Robert [mailto:RFranzinger@dykema.com]
Sent: Friday, January 28, 2011 10:51 AM

To: Jason Graham

Subject: RE: I have the $100K in my trust account.

Good

Robert J. Franzinger

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Filed 01/16/12 Page 1 of 2

From: Jason Graham [maitto:jason@grahamandpenman.com]
Sent: Friday, January 28, 2011 10:49 AM

To: Franzinger, Robert

Subject: I have the $100K in my trust account.

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